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                                UNITED STATES DISTRICT COURT
                                 MIDDLE DISTRICT OF FLORIDA
                                       TAMPA DIVISION


UNITED STATES OF AMERICA,

vs.                                                         CASE NO. 8:06-CR-279-T-EAK-TBM


JORGE ENRIQUE VALENCIA VERGARA
                             /

                                                 ORDER


        This cause comes before the Court on the defendant’s motions for reduction of sentence, the
requested modification was based on the retroactive application of revised cocaine base sentencing
guidelines (Docs. 344, 358, 361 and 381). The Court also has before it the U.S. Probation Office
Amendment Assessment (Doc. 354) and the response of the government (Doc. 389). The Court has
reviewed the motions and the Amendment Assessment for the United States Probation Office and the
government response. The Court concludes that the defendant is not eligible for a reduction in sentence
based on the amended guidelines and adopts their position that the defendant is not eligible for a
reduction in sentence because the amendment does not have the effect of lowering the defendant’s
sentencing range. Accordingly, it is.


        ORDERED that defendant’s motionsSfor modification of sentence be denied.


        DONE AND ORDERED in Chambers in Tampa, Florida this 17th day of March, 2016.




Copies furnished to: All Counsel of Record
